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Prob12A
(7/93)

                                   United States District Court
                                   for the District of Massachusetts
                                Report on Offender Under Supervision


   Name of Offender: Daniel E. Carpenter                                      Case Number: 0101 1:04CR10029
   Name of Sentencing Judicial Officer: Honorable George A. O'Toole, U.S. District Judge
   Date of Original Sentence: February 26, 2014
   Original Offense: Wire Fraud, in violation of 18 U.S.C. § 1343 (Counts 1s – 14s)
                 Mail Fraud, in violation of 18U.S.C. § 1341 (Counts 15s - 19s)
   Original Sentence: 36 months of custody, followed by 36 months of supervised release
   Type of Supervision: Supervised Release                  Date Supervision Commenced: January 26, 2017


                                       CASE STATUS UPDATE

On February 26, 2014, Daniel Carpenter, having previously been convicted of Wire Fraud, in violation of
18 U.S.C. § 1343 (Counts 1s - 14s) and Mail Fraud, in violation of 18 U.S.C. § 1341 (Counts 15s - 19s),
was sentenced to 36 months in custody, followed by 36 months of supervised release. Mr. Carpenter was
released from the Bureau of prison on January 26, 2017 and has been supervised in the District of
Connecticut since that date. Although he is supervised in the District of Connecticut jurisdiction remains
with the District of Massachusetts.

The Probation Office wishes to inform the Court that Mr. Carpenter has been convicted and sentenced on
new federal charges in the District of Connecticut. However, the conduct in that case pre-dated his
current term of supervised release. On December 3, 2018 Mr. Carpenter appeared for sentencing before
the Honorable Robert N. Chatigny Senior U.S. District Judge for the District of Connecticut, having
previously been convicted of 32 counts of Wire Fraud, in violation of 18 U.S.C§§1343 and 2; 23 counts
of Mail Fraud, in violation 18 U.S.C.§ 1341 and 2; one count of Conspiracy to Commit Mail and Wire
Fraud, in violation of 18 U.S.C. §§ 1349; one count of Conspiracy to Commit Money Laundering, in
violation of 18 U.S.C. §1956(h); 13 counts of Illegal Money Transaction, in violation of 18 U.S.C. § 1957
and 2; and 10 counts of Money Laundering: Promotion of Specified Unlawful Activity, in violation of 18
U.S.C. §§ 1956(a)(1)(A)(i) and 2. On that same date, Mr. Carpenter was sentenced to 30 months in
custody, followed by 3 years of supervised release.

Mr. Carpenter, has a voluntary surrender date of March 4, 2019 and will remain on active supervised
release until that date. Mr. Carpenter’s supervised release term on the District of Massachusetts case will
be tolled while he serves the term of imprisonment imposed on the above noted District of Connecticut
case. He will resume is current term of supervised release upon his release from custody. His
remaining term of supervised release will be served concurrently with the new term of supervised
release imposed in the District of Connecticut. Given that the conduct which resulted in the new
conviction pre-dated his current term of supervised release, Mr. Carpenter is not subject to a violation in
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this Court. Therefore, the Probation Office is not requesting any formal action by the Court. This
memorandum serves as notification to this Court.



U.S. Probation Officer Action:

Reviewed/Approved by:
                                                                                                               Respectfully submitted,
/s/Jeffrey Smith                                                                                               /s/ Lisa M. Paiva
Jeffrey Smith                                                                                                  Lisa M. Paiva
Supervising U.S. Probation Officer                                                                             Supervising U.S. Probation Officer

                                                                                                               Date: 12/26/2018


                         No Response is necessary unless the court directs that additional action be taken as follows:

[]     Approved: No Action
[]     Submit a Request for Modifying the Conditions or Term of Supervision
[]     Submit a Request for Warrant or Summons
[]     Other

                                                                                                 _____________________________
                                                                                                 Honorable George A. O’Toole


                                                                                                 ______________________________
                                                                                                 Date
